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                             11                                 CENTRAL DISTRICT OF CALIFORNIA
                             12
BEST BEST & KRIEGER LLP




                             13   CALIFORNIA DEPARTMENT OF                                 Case No. 2:20-CV-11293-SVW-JPR
                                  TOXIC SUBSTANCES CONTROL and
                             14   the TOXIC SUBSTANCES CONTROL                             Honorable Jean P. Rosenbluth
                                  ACCOUNT,                                                 U.S. Magistrate Judge
                             15                                                            Courtroom 690
                                                           Plaintiffs,
                             16                                                            ORDER TO CONTINUE STATUS
                                           v.                                              CONFERENCE RE
                             17                                                            DEFENDANTS’ MOTION TO
                                  NL INDUSTRIES, INC., a New Jersey                        COMPEL
                             18   corporation; et al.,
                             19                            Defendants.                     3rd Party Complaint Filed: 08/16/2021
                                                                                           Action Filed: 12/14/2020
                             20                                                            Trial Date: 04/19/2022
                                  NL INDUSTRIES, INC.,
                             21
                                                           Third-Party Plaintiff,
                             22
                                           v.
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                                  EXXON MOBIL CORPORATION, a
                             24   New Jersey corporation; et al.,
                             25                            Third-Party Defendants.
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                                                                                                             2:20-CV-11293-SVW-JPR
                                                                                                    [PROPOSED] ORDER TO CONTINUE
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                                                                                     -1-                   STATUS CONFERENCE RE
                                                                                                   DEFENDANTS’ MOTION TO COMPEL
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                              1                                           ORDER
                              2            The Court has considered the Stipulation to Continue Status Conference
                              3   Regarding Defendants’ Motion to Compel. (Dkt 480.) For the reasons set forth in
                              4   the Stipulation, it is hereby:
                              5            ORDERED that the Status Conference currently scheduled for September 15,
                              6   2022, at 10:00 A.M. is continued to November 10, 2022, at 10:00 a.m.
                              7            IT IS SO ORDERED.
                              8
                              9
                             10   Dated: September 14, 2022
                                                                                Honorable Jean P. Rosenbluth
                             11                                                 U.S. Magistrate Judge
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BEST BEST & KRIEGER LLP




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                                                                                         [PROPOSED] ORDER TO CONTINUE
                                  65446.99999\40695794.1
                                                                          -2-                   STATUS CONFERENCE RE
                                                                                        DEFENDANTS’ MOTION TO COMPEL
